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                                                                   Friday, 22 April, 2022 05:44:58 PM
                                                                        Clerk, U.S. District Court, ILCD

                     UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF ILLINOIS
                             URBANA DIVISION
____________________________________________________________________________

UNITED STATES OF AMERICA,                    )
               Plaintiff,                    )
         v.                                  )          Case No. 21-CR-20064
                                             )
ROBERT E. WILLIAMS,                          )
                Defendant.                   )


      ORDER APPROVING MAGISTRATE JUDGE’S RECOMMENDATION


      On April 7, 2022, a Report and Recommendation (#21) was filed by United States

Magistrate Judge Eric I. Long in this case, recommending that Defendant ROBERT E.

WILLIAMS’s plea of guilty be accepted. More than fourteen days have elapsed, and no

objections have been made. This court therefore ACCEPTS the recommendation of the

Magistrate Judge. Defendant ROBERT E. WILLIAMS’s plea of guilty as to Count 1 of

the Indictment (#1) is accepted by the court and Defendant ROBERT E. WILLIAMS is

adjudged guilty of Count 1. The court orders the United States Probation Office to

prepare a pre-sentence investigation report. Sentencing remains set for August 8, 2022,

at 3:00 p.m. in Courtroom A in Urbana, before the undersigned.

      Further, Defendant has agreed to the forfeiture of the items described in the

Indictment. The Government’s Motion for a Preliminary Order of Forfeiture (#23) is

therefore GRANTED.

                 ENTERED this 22nd day of April, 2022.

                                    s/ Colin Stirling Bruce
                                       COLIN S. BRUCE
                                     U.S. DISTRICT JUDGE
